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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                )
RONDA L. DAVIS, et al.,                         )
                                                )
           and                                  )
                                                )
CYNTHIA DUDLEY, et. al.,                        )
                                                )
           Plaintiffs,                          )           Civil Actions Nos. 10-1564, 10-1718
                                                )           (RC)
                                                )
                         v.                     )
                                                )
DISTRICT OF COLUMBIA, et. al.,                  )
                                                )
           Defendants.                          )
                                                )



            PLAINTIFFS’ STATEMENT OF DISPUTED MATERIAL FACTS

       Plaintiffs do not dispute items 1, 3, 4, 6, 7, 8, 9, 10, 11, 12, 13, 60, 61, 62, and 63 of

Defendant’s Statement of Undisputed Material Facts.

       Plaintiffs do not dispute items 44, 45, 46, 47, and 48 only insofar as these items describe

Plaintiffs Ajakaiye’s and Morris’ EEOC charge filings and Right-to-Sue Letters. Plaintiffs,

however, do not concede that only Plaintiffs Ajakaiye and Morris filed EEOC Charges. The

record contains legitimate questions of material fact whether Plaintiffs’ prior counsel, David

Rose, filed EEOC charges on behalf of additional plaintiffs in the case.

       Plaintiffs do not dispute items 49, 50, 51, 52, 53, 54, 55, and 56 only insofar as these

items describe bankruptcy filings by Plaintiffs Ajakaiye and Alston. Plaintiffs, however, do not




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concede that plaintiffs failed to meet any disclosure obligations to this Court or the bankruptcy

courts.

          As for the remaining items, Plaintiffs submit below that they raise the following

legitimate questions of material facts:



Defendant’s Statement # 2

          CFSA operates the following six offices: (i) Agency Programs; (ii) Community Services;
          (iii) Policy and Planning; (iv) Clinical Practice; (v) Agency Management; and (vi)
          Financial Operations. Id. at 2 (Pl. 00090).

Plaintiff’s Disputed Statement

          Prior to the subject RIF, the Agency’s organizational chart reflects that CFSA was
          organized into approximately twelve (12) offices or divisions: Office of the Director,
          Fiscal Operations, General Counsel, Agency Programs, Community Services, Office for
          Planning Policy and Program Support, Clinical Practice, Chief Administrative Office,
          Revenue Operations, Office of Chief of Staff, Public Information, and Accountability.
          (Pl. Ex. 1.)



Defendant’s Statement # 5

          The Agency Financial Operations Division provides comprehensive financial
          management services to CFSA to maintain the financial integrity of the District of
          Columbia. Exhibit A at 7 (Pl. 000095). Although employees within this Division
          contribute to the agency’s overall headcount, they report to the Office of the Chief
          Financial Officer, rather than the Director of CFSA. Declaration of Dexter Starkes,
          attached as Exhibit C, ¶ 7.

Plaintiff’s Disputed Statement

          Prior to the subject RIF, according to the Declaration of Stan Spaght, CFSA’s Human
          Resources Manager for Compensation/Benefits, the agency consisted of a total workforce
          of 832, including employees from the office of Financial Operations Divisions. (Pl. Ex.
          10.) Subsequently, Defendant submitted a separate Declaration from Dexter Starkes,
          CFSA Director of Human Resource. According to the Starkes Declaration, 30 employees
          in CDFSA office of Fiscal Operations Administration (FOA) should not have been
          included in the head count of the Agency because at the time of the RIF they reported to




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       the Office of the Chief Financial Officer and, as such were “not technically CFSA
       employees.” (Def. Ex. C. ¶ 7.)


Defendant’s Statement #15

       CFSA did not utilize a single uniform criteria, test or requirement for determining which
       employees would be separated from the Agency in the RIF. Rather, the determination as
       to which agency positions would be included in the RIF was the result of multiple
       individual decisions made by the Director working in close consultation with the Chief of
       Staff, the Deputy Directors in charge of CFSA’s various divisions, and other senior level
       managers in the Agency’s executive team. Declaration of Raymond Davidson, attached
       as Exhibit E, ¶ 4.

Plaintiff’s Disputed Statement

       In a memorandum dated April 29, 2010, to City Administrator Neil Albert, CFSA
       Director Roque Gerald (“Gerald”) requested “approval to conduct a Reduction-in-Force
       (RIF) to abolish one hundred and twenty-three (123) positions within the Child and
       Family Services Agency.” (Def. Exh. E, Attachment A, Memorandum from Roque
       Gerald to Neil Albert, P. 1). As justification for the RIF, Director Gerald stated: “The
       Child and Family Services Agency must conduct a realignment to consolidate functions
       in accordance with the FY’2011 budget and internal re-engineering. The deficit resulting
       from the realignment will precipitate a reduction in force.” (Id.).

       Nothing in Gerald’s April 29, 2010 memorandum indicated that the RIF targeted
       particular positions or was conducted as a result of individual decisions. To the contrary,
       the memorandum provided an “agency-wide” list of positions to be eliminated or
       consolidated purportedly due to FY’11 budget cuts, which supposedly affected virtually
       every office in the agency. (Id. at 2). Specifically, Director Gerald sought to abolish
       twenty-one (21) positions in the Office of the Deputy Director for Community Programs;
       Nine (9) positions in the Office of the Deputy Director for Clinical Practice, two (2)
       positions in the Office of the Deputy Director for Revenue Operations, twelve (12)
       positions in the Office of the Deputy Director for Planning, Policy, and Program Support,
       seventy (70) positions in the Office of the Deputy Director for Agency Programs, one (1)
       position in the Office of General Counsel, one (1) position in the Fiscal Operations
       Administration, and two (2) positions in the Office of the Chief of Staff in CFSA. (Id. at
       4-8).



Defendant’s Statement #16

       Employees holding positions within the Financial Operations Administration were not
       included in the RIF, because they reported to the OCFO. Exhibit C, ¶ 7.




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Plaintiff’s Disputed Statement

       CFSA’s organizational chart shows the Financial Operations Administration under the
       CFSA’s Office of the Director. The April 29, 2010 memorandum from Director Gerald
       included one employee from the Office of Fiscal Operations Administration as being part
       of the RIF. CFSA also submitted a Declaration of Stan Spaght, CFSA’s Human
       Resources Manager for Compensation/Benefits at the time of the RIF, counting the
       number of CFSA employees as 832, including the 30 employees in the Financial
       Operations Administration. (Pl. Exh. 10).        Subsequently, Defendant submitted a
       Declaration from Dexter Starkes, CFSA Director of Human Resource. According to the
       Starkes Declaration, the 30 employees in CDFSA office of Fiscal Operations
       Administration (FOA) should not have been included in the head count of the Agency
       because at the time of the RIF they reported to the Office of the Chief Financial Officer
       and, as such were “not technically CFSA employees.” (Def. Exh. C. ¶ 7).



Defendant’s Statement #17

       CFSA achieved many of the required personnel cuts by realigning functions and
       implementing new service models within three specific divisions within the Agency:
       Agency Programs, the Office of Clinical Practice, and the Office of Community Services.
       Exhibit E, ¶¶ 5-13.

Plaintiff’s Disputed Statement

       The personnel cuts were not driven by a targeted realignment of the Agency. To begin
       with, CFSA did not conduct an authorized realignment. In an administrative challenge to
       the RIF brought by plaintiff Ernest Hunter, the District of Columbia Office of Employee
       Appeals (OEA), an administrative adjudicate body with jurisdiction over RIF planning
       and implementation, held that “there is no [ ] evidence [ ] to show that the RIF was
       properly authorized.” (Pl. Exh. 15). OEA even went to far as to order the RIF invalid and
       CFSA to “reimburse [Hunter] all back-pay and benefits lost as a result of the RIF action.”
       Id. The few planning documents CFSA produced regarding planning and implementation
       of the RIF, as well as Declaration submitted by agency executives in the early days of
       this suit, indicate the agency undertook a neutral cost-cutting move rather than a targeted
       realignment. (Def. Exh. E, Attachment A, Memorandum from Roque Gerald to Neil
       Albert, P. 1).



Defendant’s Statement #18

       Within Agency Programs, CFSA determined that it was necessary to implement a model
       in which Social Workers are “teamed” with a set of skilled partners to more effectively
       serve the needs of the Agency’s children and family clients. Id. at ¶ 6.



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Plaintiff’s Disputed Statement

       The question whether a “teamed” model would more effectively serve the Agency’s
       children and families, or that such a model was the driving force for the RIF is at the
       heart of the case and very much in dispute. The fact that CFSA calls it a new “team
       model” does not mean that it is an undisputed statement of fact as opposed to CFSA
       using new jargon to refer to the same work. While CFSA has repeatedly claimed that the
       difference between the SSA and FSW is that FSWs are able to perform casework
       activities and make assessments during home visitations, the record contains a number of
       facts disputing that claim. To begin with, SSAs were already performing the work in the
       revised new post RIF job descriptions, but were not being credited for that work.
       Plaintiff Darius Morris, one of the most experienced terminated SSAs, testified in his
       deposition that SSAs routinely made home visits and assessments. However, CFSA did
       not formally count and enter these visits and assessments in the FACES database. (Pl.
       Exh. 11 at 21-6.) As further proof that that the Agency could have created a new position
       and effectively maintained the same work force, following the RIF at least one plaintiff,
       Stephanie Alston, was hired as a Family Support Worker by the Georgia Avenue Family
       Support Collaborative, a CFSA contractor that provides services for emancipated youths
       in the District. (Pl. Ex. 14.) In other words, CFSA contracted FSW functions to an outside
       vendor, which itself hired Alston to do the very work that Alston had been doing all
       along prior to the RIF but that now CFSA claimed she needed a Bachelor’s Degree to
       perform. Lastly, CFSA’s own supervisors have conceded the similarities between the
       SSA and FSW positions, specifically stating that the job positions are substantially the
       same. In an e-mail dated May 26, 2010 between Jenna BeeBe to CFSA Program
       Administrator Jesse Winston and Theresa Cunningham Ms. Beebe stated that a CFSA
       supervisor believed that “the FSW would be used in the exact fashion SSA's were prior to
       the RIF” based on the roles and responsibilities of the FSW position as defined by CFSA
       management. (Pl. Ex. 6.)


Defendant’s Statement #19

       In support of this new model, CFSA decided to eliminate entirely the positions of Social
       Service Assistant (SSA)—a social work support position—and Social Worker Associate
       (SWA)—a bachelor-level social work position—in favor of a single new support position,
       titled Family Support Worker. Id. ¶¶ 7-8.

Plaintiff’s Disputed Statement

       This item is merely a rephrasing of Defendant’s legal argument rather than a statement of
       facts, much less an undisputed one. CFSA did eliminate the SSA and SWA positions and
       did come up with a new FSW label but, as noted above, there is no evidence that it
       represented a new model.




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Defendant’s Statement # 20

       The agency-wide elimination of the SSA and SWA positions accounted for 70 of the 115
       employees separated in the RIF. Id. at ¶ 9.

Plaintiff’s Disputed Statement

       The Declaration of Deputy Director Debra Porchia-Usher stated that of the 115
       employees who received RIF notices, 16 held SWA positions, 57 held SSA positions for
       a total of 73. (Def. Ex. B, Porchia-Usher Declaration, ¶¶14, 15)


Defendant’s Statement # 21

       Within the Office of Clinical Practice (OCP), CFSA implemented a new model that would
       allow Social Workers to be paired with skilled Nurse Care managers to ensure quality
       medical care for the children, youth and families served by CFSA. Id. at ¶ 10.

Plaintiffs’ Disputed Statement

       As with Defendant’s statement regarding the SSAs, the question whether a “teamed”
       model would more effectively serve the Agency’s children and families, or that such a
       model was the driving force for the RIF is at the heart of the case and very much in
       dispute. The fact that CFSA calls it a new “team model” or a “new model” does not
       mean that it is an undisputed statement of fact as opposed to CFSA using new jargon to
       refer to he same work.


Defendant’s Statement #22

       To support the establishment of the Nurse Care Management model, CFSA eliminated or
       reclassified 8 full time positions (including one SSA) to create vacancies to staff and
       implement the new model. These positions included Clinical Support Specialists, Health
       Services Program Liaison, Supervisory Health Care Specialist, Supervisory Clinical
       Support Specialist, Residential Specialist, and Office Automation Assistant. Id. at ¶ 11.

Plaintiffs’ Disputed Statement

       As with Defendant’s statement regarding the SSAs, the question whether a “teamed” or
       “new” model would more effectively serve the Agency’s children and families, or that
       such a model was the driving force for the RIF is at the heart of the case and very much
       in dispute.




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Defendant’s Statement # 24

       Within the Office of Community Services (OCS), CFSA implemented a new model to
       manage and oversee the performance of certain agency contractors. As a result, CFSA
       eliminated or reclassified 19 positions within the OCS’s Congregate Care and Home
       Study Contract Monitoring Division. Id. at ¶ 12.

Plaintiffs’ Disputed Statement

       As with Defendant’s statement regarding the SSAs, the question whether a “teamed”
       model or a “new” model would more effectively serve the Agency’s children and
       families, or that such a model was the driving force for the RIF is at the heart of the case
       and very much in dispute. The fact that CFSA calls it a new “team model” does not
       mean that it is an undisputed statement of fact as opposed to CFSA using new jargon to
       refer to he same work.


Defendant’s Statement #27

       In addition to implementing these new services models, CFSA achieved the mandated
       personnel cuts by reviewing its programs and determining which positions could be
       eliminated with the least negative impact on the Agency’s ability to perform its statutory
       and court-ordered functions. Id. at ¶ 14.

Plaintiffs’ Disputed Statement

       As noted above with respect to items # 17, 18, 19, and 24, Plaintiffs that Defendant
       achieved or intended to achieve “new service models” with the RIF.


Defendant’s Statement #28

       CFSA eliminated one of two Administrative Review teams that had been maintained
       under the Office of Planning, Policy and Program Support (OPPPS) based on a
       determination by the Deputy Director for OPPPS that the elimination of these positions
       would not detrimentally affect the division’s functions. Id., ¶ 15.

Plaintiffs’ Disputed Statement

       While Defendant makes the statement that CFSA believed that the elimination of any
       position did not detrimentally affect any particular division’s functions, the question
       whether the elimination did in fact have a detrimental effect is a disputed question of fact
       insofar as Defendant has placed no evidence on the record to show one way or another
       the effect of the elimination of any position.




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Defendant’s Statement #32

       As part of implementing the new service model in Agency Programs, CFSA created a new
       position of Family Support Worker (FSW), which required a bachelor’s degree in a
       social service field. Exhibit B, ¶ 12.

Plaintiff’s Disputed Statement

       CFSA may have required a Bachelor’s Degree for the FSW position but Plaintiffs dispute
       that the requirement should have been imposed. As explained above, SSAs were already
       performing the work in the revised new post RIF job descriptions, but were not being
       credited for that work. Plaintiff Darius Morris, one of the most experienced terminated
       SSAs, testified in his deposition that SSAs routinely made home visits and assessments.
       However, CFSA did not formally count and enter these visits and assessments in the
       FACES database. (Pl. Exh. 11 at 21-6.) As further proof that that the Agency could have
       created a new position and effectively maintained the same work force, following the RIF
       Plaintiff at least one plaintiff, Stephanie Alston, was hired as a Family Support Worker
       by the Georgia Avenue Family Support Collaborative, a CFSA contractor that provides
       services for emancipated youths in the District. (Pl. Ex. 14.) In other words, CFSA
       contracted FSW functions to an outside vendor, which itself hired Alston to do the very
       work that Alston had been doing all along prior to the RIF but that now CFSA claimed
       she needed a Bachelor’s Degree to perform. Lastly, CFSA’s own supervisors have
       conceded the similarities between the SSA and FSW positions, specifically stating that
       the job positions are substantially the same. In an e-mail dated May 26, 2010 between
       Jenna BeeBe to CFSA Program Administrator Jesse Winston and Theresa Cunningham
       Ms. Beebe stated that a CFSA supervisor believed that “the FSW would be used in the
       exact fashion SSA's were prior to the RIF” based on the roles and responsibilities of the
       FSW position as defined by CFSA management. (Pl. Ex. 6.)


Defendant’s Statement #33

       FSWs perform casework activities that support investigative social workers to obtain the
       information necessary to complete investigations of abuse and neglect, including
       interviewing family members, children, and caretakers, assessing the safety of a home
       and the well-being of children, conducting home visits, documenting information into the
       case record, coordinating with other team members for meetings, and coordinating
       needed services for families and children. Id.

Plaintiff’s Disputed Statement

       Plaintiffs agree that the above item reflects, in part, the job description for the FSW
       position. As stated with respect to item 32, Plaintiffs do not concede that the above
       description is a full and accurate representation of the work of FSW, in particularly as it
       compares with that of SSAs and SWAs.




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Defendant’s Statement #34

       In December 2010, the court adopted an Implementation and Exit Plan that permitted
       FSWs to conduct certain visitations that count toward the Agency’s exit standard. See
       LaShawn v. Fenty, No. 89-cv-01754 (TFH), ECF No. 1073, Implementation and Exit
       Plan (Dec. 17, 2010) §§ 4.b., 5.b. & 6.b.

Plaintiff’s Disputed Statement

       The Implementation and Exit Plan, ordered by the United States District Court for the
       District of Columbia merely states that Family Support Workers are expected to conduct
       a second monthly visit at the home, school or elsewhere [Section 4.b], children in child in
       out-of home care (foster family homes, group homes, congregate care, independent living
       programs, etc.) [Section 5.b], and finally, visits to each child during the first four weeks
       of a new placement or a placement change [Section 6.b]. The Court’s declarations cited
       by the Defendant’s fail to assert the reason for CFSA determination that the SSAs
       employed by CFSA prior to the Reduction in Force were not able to perform these duties.

       Moreover, the Defendants have also failed to adequately articulate the rationale behind
       their assumption that a Bachelor Degree is necessary to perform this function,
       particularly since a large majority of the work done by FSWs significantly overlaps with
       the job responsibilities of the SSAs. The SSA job description contained in the appendix
       of Ms. Usher’s declaration, shows that the Social Service assistant major duties were to
       (1) conduct unaccompanied home visits, for reasons of safety, or to assist in locating the
       assessment site, (2) provide transportation for clients, (3) support social workers in
       implementing service plans by supervising/facilitating visits, making referrals, or
       scheduling service with providers, (4) supervises visits with children, and their family
       members, (5) documenting information into the case record. (Def. Ex.Exhibit B.) Despite
       Defendants position that SSAs were not qualified to conduct home visits, the job
       description shows that in performing the duties required by CFSA, SSAs already had
       significant contact with children and their families due to multiple visits at home and
       elsewhere, and were given a substantial amount of responsibility in conducting home
       visits, determining the safety, and well-being of the children and even making the
       appropriate referrals if necessary, as well as documenting the case for CFSA’s records.
       There is no reason for CFSA to conclude that a Bachelor’s degree was required to
       perform a function that SSAs seem to already be knowledgeable and skilled enough to
       perform. Furthermore, the responsibilities of FSWs listed by the Court do not conflict
       with the job responsibilities of SSA’s listed in the appendix of Ms. Usher’s declaration.
       LaShawn v. Fenty, No. 89 cv-01754 (TFH), ECF No. 1073, Implementation and Exit
       Plan (Dec. 17, 2010) §§ 4.b., 5.b. & 6.b. Accordingly, there is no evidence to support the
       Defendant’s position that the Social Services Assistants could not perform the job
       responsibilities of an Family Support Worker adequately and consistent with the mission
       of CFSA.




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Defendant’s Statement #35

       Prior to the creation of the FSW position, only Social Workers were permitted to conduct
       such visits. See LaShawn v. Fenty, No. 89-cv-01754 (TFH), ECF No. 864, Amended
       Implementation Plan (Feb. 2007) §§ 4-6.

Plaintiffs’ Disputed Statement

       See Plaintiffs’ disputed statement re Defendant’s Statement #34



Defendant’s Statement #37

       Thirty of the separated CFSA employees who applied for an FSW position held a
       bachelor’s degree, and thus satisfied the minimal educational qualifications for the
       position. Id. at ¶ 20

Plaintiffs’ Disputed Statement

       Plaintiffs do not dispute that Attachment A to the Davidson affidavit shows that thirty
       former CFSA employees who applied for the FSW had a Bachelor’s degree. As noted
       above, however, Plaintiffs dispute Defendant’s description of “minimal educational
       qualifications” insofar as it implies that the Bachelor’s degree is in fact necessary for a
       position that was functionally indistinguishable from the SSA position.



Defendant’s Statement #39

       Each of the separated CFSA employees who met the minimal qualifications for an FSW
       position was interviewed and scored based on six weighted factors: worker experience
       (25%), flexibility/adaptation (10%), communication (10%), conflict resolution (10%),
       critical thinking (20%), and their most recent performance rating (25%). Id. at ¶ 21.

Plaintiffs’ Disputed Statement

       The formula utilized by CFSA in determining the score of the separated CFSA
       employees is in direct violation of the District of Columbia’s Reduction in Force
       protocol. Section 24 of the Protocol describes the Agency Reemployment Priority
       Program. Each agency, including CFSA, has the authority to establish and maintain a
       Reemployment Priority List. The employee’s name remains on the Reemployment list
       and placed into (a) Group I- (2) years and (b) Group II – (1) year. The employee’s name
       shall be entered into the appropriate list as: (a) grade level at time of separation and (b)
       any lower grade acceptable to the employee. An employee’s name may also be deleted
       from the Reemployment Priority List. Restrictions of appointments are also assessed due



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       to reemployment priority list with respect to new appointments, transfer, or
       reemployment of person not on appropriate priority list. The order of priority is also
       considered based upon the relative standing in competitive level and group tenure. The
       order of priority is also considered based upon the relative standing in competitive level
       and group tenure. A competitive level consists of all positions in a competitive area that
       is in the same pay system, grade, class and series and are sufficiently alike in
       qualification requirements, duties, responsibilities, and working conditions. Id. The
       incumbent in any one position should be able to successfully perform the duties and
       responsibilities of any of the other positions, without any loss of productivity beyond
       normal expectations.

       There is no evidence in the record to show that CFSA followed this protocol and placed
       the employees separated from the agency in the Reduction in Force in a Reemployment
       Priority Program. The formula used above to determine the reemployment of the
       qualified SSAs does not account for any priority given to the separated employees despite
       the fact that CFSA labeled them as qualified and they already possessed a wealth of
       knowledge and experience of the mission of CFSA and of the job duties of an FSW as it
       is strikingly similar to their previous job as an SSA. Pointedly, there is nothing in the
       record to show that such a program existed. Defendants have never articulated a reason
       for their failure to implement an Agency Reemployment Priority Program, which would
       have had a significant impact on those employees that had performed their duties as an
       SSA well, meeting CFSA’s standards, and were also qualified for the position as an
       FSW.




Defendant’s Statement #42

       All of these individuals were African-American. See id. at Ex. 2.

Plaintiff’s Disputed Statement

       Defendant’s assertion that CFSA hired 18 African American individuals who were
       separated in the RIF as an FSW is in dispute. Shikita Beander is not listed in the record
       and there is no evidence that she is in fact African-American.



Defendant’s Statement #43

       Seven of these 18 individuals were age 40 or above. See id. at Exs. 1 & 2.

Plaintiff’s Disputed Statement




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                 Defendant’s assertion that CFSA hired 7 individuals over 40 that were separated in the
                 RIF as an FSW is in dispute. Shikita Beander is not listed in the record and there is no
                 evidence that she is in fact over 40.



Defendant’s Statement # 57

                 Plaintiffs’ expert concluded that African-Americans and employees age 40 and above
                 were separated in the RIF at a rate higher than would be statistically attributed to
                 chance when compared to the pre-RIF composition of the agency workforce as a whole.
                 Declaration of Dr. Paige Munro, attached as Exhibit H, ¶¶ 2-6.

Plaintiffs’ Disputed Statement

                 According to EEOC Regulations Four-Fifths Rule, for purposes of Title VII disparate
                 impact analysis, a statistically significant disparity is one in which the minority
                 termination rate is greater than 125% of the majority termination rate.1 Dr. Munro’s
                 analysis showed that African-Americans had been terminated in the RIF at a rate either
                 277% or 444% greater than that of non-African-Americans, and that over-40 employees
                 had been terminated at a rate either 176% or 179% of the termination rate of under-40
                 employees. In other words, the RIF had violated the 4/5ths rule for both African-
                 Americans and over-40 employees. (Def. Ex. K)


Defendant’s Statement # 58

                 Dr. Munro’s conclusion that the RIF had a disparate impact on African-Americans and
                 employees age 40 and above is based on the erroneous assumption that all CFSA
                 employees faced an equal risk of termination in the RIF. Exhibit J, 1 ¶¶ 11-13, 20;
                 Report by Dr. Paige Munro in Rebuttal to Dr. Bronars Analysis, ECF No. 93, attached as
                 Exhibit K ¶ 5 (“I chose the analysis that assumed all jobs were equally at risk because
                 there was no reason to believe all jobs were not equally at risk when I conducted the
                 analysis.”).

Plaintiffs’ Disputed Statement

                 Dr. Munro’s statement is not erroneous but is rather one of the central disputed factual
                 questions in the case. Dr. Bronars, Defendant’s expert, relied on a Declaration by
                 Raymond Davidson, CFSA’s Chief Administrative Officer at the time of the RIF. The
                 Davidson Declaration was dated January 7, 2014, the day before Dr. Bronars signed his
                 report on January 8, 2014 and stated for the first time, nearly four years after the RIF, that
                 “CFSA did not utilize a single uniform criteria, test or requirement for determining which
                 employees would be separated from the Agency in the RIF. Rather, the determination as

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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           Uniform Guidelines on Employee Selection Procedures, 44 Fed. Reg. 11998 (Mar. 2, 1979).

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       to which positions would be included in the RIF was the result of multiple decisions
       made by the Director…” (Def. Ex E ¶ 4). Dr. Bronars’ conclusion is not an undisputed
       question of fact, nor is the belated self-serving Davidson Declaration. Defendant is free
       to argue that the Bronars assumption of a targeted RIF is correct and that the Munro
       conclusion of an agency-wide RIF is incorrect, but that argument does not make it an
       undisputed question of fact.

Defendant’s Statement # 59

       Dr. Munro concluded that the RIF had a disparate impact on African-Americans and
       employees age 40 and above based on the “four-fifths” rule, rather than the two
       standard deviations rule from Hazelwood Sch. Dist., v. United States, 433 U.S. 299
       (1977). Report by Dr. Paige Munro, attached as Exhibit I ¶¶ 6.a., 6.b., 7.a., 7.b.;
       Rebuttal by Dr. Paige Munro, attached as Exhibit K at 13.

Plaintiffs’ Disputed Statement

       Dr. Munro used three different statistical methods to calculate disparate impact:
       ANOVA, Chi-Squared, and the 4/5ths Rule. While each analysis has a different
       systematic computation process, all three tests consistently found that there exists a
       disparate impact with respect to race and age with statistical significance. Moreover, the
       statement that Hazelwood requires exclusively the two standard deviations rule – a
       statement the Supreme Court itself has never made – is an argument of law, not a
       statement of fact, much less an undisputed one.


Defendant’s Statement # 64

       Plaintiffs Dudley, Gray, Hailes, and Kelley have abandoned their Title VII claims based
       on their answers to the District’s discovery requests.

Plaintiffs’ Disputed Statement

       The referenced Plaintiffs have not abandoned nor dismissed their claims.



Defendant’s Statement # 65

       The District duly served upon Plaintiffs a First Requests for Production of Documents
       and asked Plaintiffs to produce their right to sue letters issued from the EEOC.
       Defendants Requests for Production, attached as Exhibit W, ¶ 9.



Plaintiffs’ Disputed Statement



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       The referenced Plaintiffs do not have Right to Sue Letters. However, consistent with the
       Third Amended Complaint at paragraphs 2 and 94, they have asserted and continue to
       assert Title VII race discrimination claims.



Defendant’s Statement # 66

       Plaintiffs filed a Response to Defendant's First Requests for Production Documents and
       Second Set of Interrogatories stating that they are not asserting Title VII actions and that
       the request is irrelevant to their claims. Response to Plaintiffs Requests for Production.
       attached as Exhibit X, ¶ 9.

Plaintiffs’ Disputed Statement

       Plaintiff’ Response did not concede its claims under Title VII as plead, but intended to
       indicate only that they had not received Right to Sue Letters. Said Response has been
       supplemented and clarified consistent with paragraphs 2, 94 and the jury trial demand in
       the Third Amended Complaint. The aforementioned Plaintiffs Dudley, Gray, Hailes, and
       Kelley do not concede their Title VII claims. (Pl. Exhibit 17).



Date: December 21, 2015

                                                 Respectfully submitted,

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